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                          NORTHERN DISTRICT OF CALIFORNIA


 In re Roundup Products Liability Litigation   MDL No. 2741
                                               Case No. 3:19-CV-02224-VC
 This Document Relates To:                     Case No. 3:19-CV-07972-VC
                                               Case No. 3:24-CV-01736-VC

 Ramirez v. Monsanto Co.                       Monsanto’s Reply to the Court’s Order to
                                               Show Cause (D.E. 19268)
 Sheller v. Monsanto Co.
                                               Date: October 31, 2024
 Perez-Hernandez v. Monsanto Co.               Time: 2:00 p.m.
                                               Place: Zoom
                                               Judge: Hon. Vince G. Chhabria
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                                        INTRODUCTION
       The Perez-Hernandez, Ramirez, and Sheller plaintiffs’ (“Plaintiffs”) responses to the

Court’s show-cause order avoid the Court’s core question: did Plaintiffs plausibly allege facts

showing that their alleged exposure to glyphosate-based Roundup® products caused an increased

risk of developing NHL significant enough to be a concrete injury for Article III standing to seek

medical monitoring? 1 The answer is no. Plaintiffs instead argue that they bear only a minimal

burden at the pleading stage. But the law is clear, including the Supreme Court’s holdings on

pleading future injuries and this District’s prior standing analyses in medical-monitoring cases:

Plaintiffs must plead facts plausibly showing that they meet each of the constitutional prerequisites

for standing. Plaintiffs simply do not plausibly allege a credible, non-conjectural risk of developing

NHL as a result of their alleged exposure to Roundup® sufficient to seek medical monitoring. Nor

do Plaintiffs’ responses show how their respective Complaints alleged traceability or redressability,

the other elements of standing. In fact, only the Perez-Hernandez plaintiffs even attempt to

demonstrate that medical monitoring would redress their alleged injuries. But a closer look at their

allegations shows that they have not alleged a clinically available test capable of diagnosing NHL

prior to the onset of symptoms. Because Plaintiffs do not plausibly allege standing, the Court

should dismiss their Complaints.




1
  For Ramirez, the Court’s show-cause order implicates only the claims of Plaintiff Dexter Owens,
who seeks a medical-monitoring remedy based on his alleged exposure. Sept. 9, 2024, Hr’g Tr. at
14:19-15:2 (the Court stating that the present jurisdictional question affects only the plaintiffs who
do not have NHL). The other plaintiff—Robert Ramirez—was diagnosed with NHL and thus does
not seek medical monitoring. No. 3:19-CV-0224-CV, D.E. 92 (“Ramirez Complaint”) at ¶ 10.
While the response in Ramirez defends Mr. Ramirez’s standing, Monsanto does not address that
issue here because it is outside the scope of the show-cause order.


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                                           ARGUMENT
I.     TO PLEAD ARTICLE III STANDING, EACH PLAINTIFF HAD TO ALLEGE
       FACTS SHOWING A CREDIBLE, NON-CONJECTURAL RISK OF
       DEVELOPING NHL TRACEABLE TO MONSANTO’S CONDUCT AND
       REDRESSABLE BY MEDICAL MONITORING
       The Court’s show-cause order required Plaintiffs to demonstrate why their Complaints, on

their face, “adequately allege standing.” 2 Dkt. No. 19268. Plaintiffs’ responses instead focus on

what they claim are minimal jurisdictional pleading burdens. Dkt. No. 19467 (“Perez-Hernandez

Response”) at 4-10; Dkt. No. 19468 (“Ramirez Response”) at 4-10; Dkt. No. 19465 (“Sheller

Response”) at 4-10. But Plaintiffs’ position contradicts Supreme Court precedent on the

requirements to plead standing and this District’s precedent on the application of those

requirements to medical monitoring.

       Standing is “an indispensable part of the plaintiff’s case.” Lujan v. Defs. of Wildlife, 504

U.S. 555, 561 (1992). Plaintiffs thus must “allege the elements of standing with at least as much

specificity as is required in pleading the elements of a cause of action.” Mehr v. Fédération

Internationale de Football Ass’n, 115 F. Supp. 3d 1035, 1058 (N.D. Cal. 2015) (citing Perez v.

Nidek Co., 711 F.3d 1109, 1113 (9th Cir. 2013)); see also Lujan, 504 U.S. at 561 (“[E]ach element

[of standing] must be supported in the same way as any other matter on which the plaintiff bears

the burden of proof.”). Standing has three elements: (i) injury in fact that is concrete,

particularized, and actual or imminent; (ii) traceability to the defendant’s conduct; and

(iii) redressability by available judicial relief. Winsor v. Sequoia Benefits & Ins. Servs., LLC, 62

F.4th 517, 523 (9th Cir. 2023). Additionally, because the medical monitoring Plaintiffs seek

equitable relief in advance of a future injury—they do not claim they have NHL, only that they are

at risk of developing it in the future—they also must allege facts showing that the “threatened

2
  A challenge to the facial adequacy of jurisdictional allegations under Rule 12(b)(1) requires the
court to “consider[] whether the allegations in the complaint are sufficient on their face to invoke
federal jurisdiction.” In re Google Referrer Header Priv. Litig., 465 F. Supp. 3d 999, 1005 (N.D.
Cal. 2020) (Rule 12(b)(6) standard applies to Rule 12(b)(1) facial attacks). The Court accepts well-
pleaded factual allegations, but it cannot “accept as true allegations that contradict matters properly
subject to judicial notice” or that “are merely conclusory, unwarranted deductions of fact, or
unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008).


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injury [is] certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quoting

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

        Courts in this District have applied these standing principles to requests for medical

monitoring by requiring plaintiffs to allege facts showing that a risk of injury or disease is “credible

and not conjectural.” Riva v. Pepsico, Inc., 82 F. Supp. 3d 1045, 1052 (N.D. Cal. 2015). Speculative

“inferences of increased risk of harm” do not suffice. Id. at 1053; accord Mehr, 115 F. Supp. 3d at

1058 (“As pled in the complaint, the alleged ‘risk’ of latent brain injuries is speculative and

nebulous, rather than being ‘certainly impending’ such that it constitutes a real and immediate

injury-in-fact.”). Plaintiffs try to circumvent Riva and Mehr by relying on an unpublished order in

Trujillo v. Ametek, Inc., 2015 WL 7313408, at *2 (S.D. Cal. Nov. 18, 2015). See Perez-Hernandez

Resp. at 5-7; Ramirez Resp. at 8-10. But even Trujillo required the plaintiffs to show a “credible

and not conjectural” increased risk of injury and to “quantif[y] the increased cancer risk they

allege.” 2015 WL 7313408, at *6. In short, Plaintiffs must allege facts showing that they each have

a credible, non-conjectural risk of developing NHL as a result of their alleged use of Roundup®

products. 3
        Plaintiffs’ argument—citing the Ninth Circuit’s recent decision in Bowen v. Energizer

Holdings, Inc., 2024 WL 4352496, at *5 (9th Cir. Oct. 1, 2024)—that resolving standing now

would improperly consider merits issues at the pleading stage is misplaced. See Sheller Resp. at

7-8 (citing Bowen); Ramirez Resp. at 9 (same). Bowen clarified the different standards that apply




3
  Neither Krottner nor Allgood, on which Plaintiffs rely, suggests a lower burden at the pleading
stage. See Krottner v. Starbucks Corp., 628 F.3d 1139, 1140–43 (9th Cir. 2010); Sheller Resp.
Ex. B (Allgood Complaint); Allgood v. Gen. Motors Corp., 2006 WL 2669337, at *2 (S.D. Ind.
Sept. 18, 2006). In both cases, the plaintiffs alleged specific facts establishing a real, immediate
threat of harm—for Krottner, actual theft of individuals’ unencrypted, sensitive data, and an
instance of identity theft, and for Allgood, demonstrated risk of illness from a chemical and
documented, excessive levels of that chemical in the plaintiffs’ groundwater. Krottner, 628 F.3d at
1140–43; Sheller Resp. Ex. B ¶¶ 54-60, 105-27. These specific factual allegations are a far cry
from an undefined, unquantifiable “increased risk” of illness.


                                                   3
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to a Rule 12(b)(1) factual attack when jurisdictional issues are intertwined with the merits.4 2024

WL 4352496, at *5. It did not alter the standard for evaluating facial challenges to the sufficiency

of jurisdictional allegations. See id. at *11 (applying facial standard to redressability element,

which defendants challenged on the pleadings). Bowen thus does not lessen Plaintiffs’ burden to

plausibly allege facts demonstrating a credible, non-conjectural risk of harm.

       Bowen aside, Plaintiffs must also plausibly allege facts demonstrating the remaining

standing elements, which are traceability and redressability. For traceability in connection with a

claim seeking medical monitoring, Plaintiffs must allege facts showing that Monsanto’s conduct

“more likely than not” caused the alleged increased risk. Riva, 82 F. Supp. 3d at 1062. For

redressability, Plaintiffs must allege facts showing that a program of clinically available medical

monitoring would actually monitor for NHL. See Steel Co. v. Citizens for a Better Env., 523 U.S.

83, 107 (1998) (“Relief that does not remedy the injury suffered cannot bootstrap a plaintiff into

federal court; that is the very essence of the redressability requirement.”). As shown below,

Plaintiffs have not alleged facts showing either.
II.    INJURY: THE COMPLAINTS DO NOT ALLEGE FACTS SHOWING AN
       INCREASED RISK THAT IS MORE THAN SPECULATIVE
       Plaintiffs have not alleged facts showing the credible, non-conjectural risk of harm

necessary for standing to bring a claim seeking medical monitoring. Because Plaintiffs premise

the claim on the risk of developing NHL in the future, they must plausibly allege “the relative
increase in the chance of onset of disease in [the plaintiffs] as a result of exposure, when compared

to (a) the plaintiff[s’] chances of developing the disease had [they] not been exposed; and (b) the

chances of the members of the public at large of developing the disease.” 5 Potter v. Firestone Tire


4
  Bowen also did not address the degree of risk necessary to establish a “credible and not
conjectural” risk of future injury. 2024 WL 4352496, at *8. Rather, Bowen held that the plaintiff
had adequately shown “economic harm” and declined to address the district court’s holding that
the plaintiff failed to “establish[] standing under an ‘increased health risk’ theory.” Id. at *4, *9.
5
  Potter defines five factors for assessing whether a plaintiff is entitled to a medical-monitoring
remedy under California law. The “relative increase” factor is most relevant to the common
question of whether Plaintiffs alleged a credible increased risk of harm.


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& Rubber Co., 863 P.2d 795, 824-25 (Cal. 1993) (defining the factors for assessing entitlement to

a medical-monitoring remedy under California law); see also Riva, 82 F. Supp. 3d at 1052

(applying Potter factors to standing inquiry); Mehr, 115 F. Supp. 3d at 1058 (same). 6 These

pleading requirements stem from the Supreme Court’s directive that plaintiffs asserting

probabilistic injuries allege a “substantially increased” risk of harm that is “certainly impending.”

Clapper, 568 U.S. at 409; Thole v. U.S. Bank N.A., 590 U.S. 538, 546 (2020).

       Consistent with this standard, the Court, in the case-management conference that led to the

show-cause order, directed Plaintiffs to demonstrate their risk of harm by posing the following

question:

       [M]y question is, you know, assuming significant exposure to Roundup, assuming
       that they don’t have NHL, and even assuming sort of the—that the studies most
       favorable to the plaintiffs are correct—you know, and we all know there are very
       serious questions about those studies—but even assuming that the studies most
       favorable to the plaintiffs are correct, what percentage increase is there in the
       chances of them getting NHL?
Sept. 9, 2024, Hr’g Tr. at 17:13-20 (emphasis added).

       Plaintiffs’ Responses cannot answer this standing question because their Complaints

simply do not plead facts that provide an answer (much less one that would show Plaintiffs have

standing). Plaintiffs’ Responses address neither “the chances of the members of the public at large

of developing” NHL nor Plaintiffs’ individual “chances of developing [NHL] had [they] not been

exposed” to glyphosate. See Potter, 863 P.2d at 824-25. Ignoring the Court’s directions, the

6
  Potter directly governs the claims for medical monitoring under California law in Perez-
Hernandez and Ramirez. Sheller primarily involves claims under Indiana law. See Sheller Resp. at
4-6. There is a split of authority over whether Indiana permits medical monitoring as a remedy at
all. Compare, e.g., Johnson v. Abbott Labs., 2004 WL 3245947 (Ind. Cir. Ct. Dec. 31, 2004)
(“Indiana does not recognize medical monitoring as a cause of action, . . . nor have Moving
Plaintiffs referred to a single Indiana case in which such relief was granted.”), with, e.g., Allgood,
2006 WL 2669337, at *2 (“Indiana law would probably recognize such a claim for medical
monitoring damages, at least in a proper case.”). And even in Allgood, the plaintiffs sought medical
monitoring in the form of damages (the “costs of a lifetime program”) rather than “medical
monitoring itself.” Id. Even assuming that medical monitoring is available as equitable relief under
Indiana law, Sheller offers no standards for assessing entitlement to medical monitoring. The Court
therefore should borrow the standards from Potter and Riva in assessing whether Sheller has
plausibly alleged an injury for purposes of standing.


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Responses also do not discuss the “relative increase in the chance of ” developing NHL “when

compared to” these baselines. Id. Instead, the Responses attempt to generally link glyphosate to

NHL by relying on the International Agency for Research on Cancer (“IARC”) Monograph and,

for Ramirez, the 2008 Eriksson study.7 Perez-Hernandez Resp. at 6; Ramirez Resp. at 6; Sheller

Resp. at 2-3. But as this Court well knows, the IARC Monograph did not address “risk,” and the

2008 Eriksson study found no statistically significant increase in risk when isolating glyphosate

from other pesticides.

       First, the IARC Monograph does not assess “risk,” much less quantify it. Rather, as the

Ninth Circuit has explained, IARC assessed the “hazard” posed by “some theoretical level of

exposure” to glyphosate. Nat’l Ass’n of Wheat Growers v. Bonta, 85 F.4th 1263, 1269 (9th Cir.

2023). And “the distinction between hazard and risk is significant.” Id. “[H]azard indicates that at

some theoretical level of exposure, the chemical is capable of causing cancer. Risk, on the other

hand, is the likelihood that cancer will occur at a real-world level of exposure.” Id. (citing

Monsanto Co. v. OEHHA, 231 Cal. Rptr. 3d 537, 542 (2018)); 8 see also J. Wilkerson Decl., Ex. A 9

7
  Each of the Responses repeatedly assures the Court that additional “studies” provide the factual
basis for an increased risk. Perez-Hernandez Resp. at 6 (“the studies Plaintiffs have cited,” “while
this Court has specifically rejected some of those same studies”); Ramirez Resp. at 6, 7, 8 (“studies
demonstrating danger of glyphosate,” “[n]umerous studies,” “[s]everal of the studies have been
alleged”); Sheller Resp. at 2 (“numerous studies,” “[n]umerous other studies”). But Plaintiffs never
explain what these studies say or how they support a credible, non-conjectural, and certainly
impending risk of harm.
8
  Though the Perez-Herandez Response claims that “California and the IARC have concluded
glyphosate poses a significant risk to humans,” the Ninth Circuit has made clear that “[n]o agency
or regulatory body (including IARC) has concluded that glyphosate poses a carcinogenic risk.”
Compare Perez-Hernandez Resp. at 6, with Wheat Growers, 85 F.4th at 1269.
9
  All exhibits cited herein are exhibits to the Wilkerson Declaration filed concurrently herewith.
As shown in that declaration, each of these exhibits was referenced in Plaintiffs’ Complaints and
relied upon in Plaintiffs’ Responses. Wilkerson Decl. ¶¶ 2-5. These exhibits can thus be considered
“under the incorporation by reference doctrine.” No. 84 Emp’r Teamster Joint Council Pension Tr.
Fund v. Am. W. Hldg. Corp., 320 F.3d 920, 925 n.2 (9th Cir. 2003); Knievel v. ESPN, 393 F.3d
1068, 1076 (9th Cir. 2005) (a complaint incorporates by reference a document on which it relies,
even if the document is not attached to the complaint). Even if these exhibits were not incorporated
by reference, they are each subject to judicial notice as publicly available documents, the



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at 10 (International Agency for Research on Cancer, Some Organophosphate Insecticides and

Herbicides, IARC MONOGRAPHS ON THE EVALUATION OF CARCINOGENIC RISKS TO HUMANS, VOL.

112 (2017)) (“A cancer ‘hazard’ is an agent that is capable of causing cancer under some

circumstances, while a cancer ‘risk’ is an estimate of the carcinogenic effects expected from

exposure to a cancer hazard. The Monographs are an exercise in evaluating cancer hazards, despite

the historical presence of the word ‘risks’ in the title.”). Plaintiffs cannot just plead that “some

theoretical level of exposure” could theoretically cause NHL; they have to plead facts showing

that their level of exposure “substantially increased” the risk that they will develop NHL to a

degree that they have a “certainly impending” risk of injury. Thole, 590 U.S. at 546; Clapper, 568

U.S. at 409; cf. In re Hanford Nuclear Res. Litig., 292 F.3d 1124, 1133 (9th Cir. 2002) (the basic

question of causation of harm is whether the substance, “at the level of exposure alleged by

plaintiffs, is capable of causing a particular injury or condition in the general population”).

       The IARC Monograph suffers from additional shortcomings that this Court has observed.

IARC’s conclusion that glyphosate is “probably” carcinogenic “has ‘no quantitative

significance.’ ” In re Roundup Products Liab. Litig., 390 F. Supp. 3d 1102, 1115 (N.D. Cal. July 10,

2018) (quoting IARC Monograph at 10); see Ex. A at 10. Plaintiffs cannot rely on it to quantify

their alleged increased risk. The Monograph likewise cautioned that “chance, bias, or confounding

could not be ruled out with reasonable confidence.” 390 F. Supp. 3d at 1115 (quoting IARC

Monograph at 27, 398); see Ex. A at 27, 398.

       In addition, the IARC Monograph fails to establish risk in humans because it relied

primarily on animal studies for its hazard analysis. The Group 2A designation is “based on ‘limited

evidence’ in humans and ‘sufficient evidence’ in experimental animals.” Wheat Growers, 85 F.4th

at 1269; see Ex. A at 30, 398-99. IARC’s conclusion relied primarily on its review of studies



authenticity of which cannot reasonably be questioned. Fed. R. Civ. P. 201(b); Von Saher v. Norton
Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010). And as the Ninth Circuit
has expressly held, this Court may take judicial notice of such documents when considering a
facial attack to jurisdiction. Hyatte v. Yee, 871 F.3d 1067, 1071 n.15 (9th Cir. 2017).


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investigating exposure in mice, rats, and non-mammalian aquatic organisms. Ex. A at 389, 396,

398-99. The reliance on animal studies further weakens the basis for claiming a credible increased

risk in Plaintiffs, much less an increase sufficient to pose a non-conjectural and “certainly

impending” risk of injury sufficient to seek medical monitoring. See Riva, 82 F. Supp. 3d at 1059

(“[T]he Riva Plaintiffs are not mice.”). All told, the IARC Monograph does not suffice to establish

the increased risk necessary to Plaintiffs’ theory of standing. Cf. In re Roundup Products Liab.

Litig., 390 F. Supp. 3d at 1115 (holding that the IARC Monograph did not suffice to create a

genuine issue of material fact on general causation).

       The Ramirez Response’s reliance on the 2008 Eriksson study fares no better. 10 That study
found no statistically significant correlation between glyphosate exposure and NHL when

adjusting for exposure to other pesticides. See Ex. B at 1160-61 & Table VII (Mikael Eriksson et

al., Pesticide Exposure as Risk Factor for Non-Hodgkin Lymphoma Including Histopathological

Subgroup Analysis, 123 INT’L J. OF CANCER 1657 (2008)). 11

       The Ramirez Response ignores this result and instead relies on the study’s univariate odds

ratio, seeking to take advantage of its confounding glyphosate with other pesticides. See Ramirez

Resp. at 8. But the Court has already identified as a “cause for concern” the Eriksson study’s

“choice of the control group for the univariate analysis, that is, the analysis [is] not adjusted for

use of other pesticides.” 390 F. Supp. 3d at 1120. Likewise, this Court has noted that “exposure to

other pesticides is the major confounder, and people with high exposure to glyphosate (who tend

10
   Though the Ramirez Response declines to identify or attach the “2008 study” it references, the
citation to In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (Pretrial Order
No. 45), reveals that the study is the Eriksson study. See 390 F. Supp. 3d at 1119-20 & n.15 (citing
Eriksson, 123 Int’l J. of Cancer 1657).
11
   Because some non-glyphosate pesticides are associated with an increased risk of contracting
NHL, Eriksson calculated a multivariate odds ratio adjusted for exposure to other pesticides to
factor out the influence of other pesticides on the results. Id. at 1660. With that adjustment,
Eriksson found no statistically significant association between glyphosate and NHL—indeed,
the confidence interval included the possibility that those exposed to glyphosate-based herbicides
are more than 20% less likely to get NHL. Eriksson found a statistically significant association
with NHL only in its univariate analysis—i.e., only when the model confounded exposure to
glyphosate with exposure to other pesticides. Id.


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to be agricultural workers or landscapers) are likely to have more exposure to other pesticides, not

less.” In re Roundup Products Liab. Litig., 2024 WL 3074376, at *4 (N.D. Cal. June 20, 2024)

(Pretrial Order No. 293: Order Granting Mot. to Exclude Dr. Luoping Zhang & Granting Summ.

J. to Monsanto).

       Plaintiffs here are all agricultural workers or landscapers, and thus the confounding error

is particularly problematic. Yet the Ramirez Response relied on the univariate odds ratio with its

confounding error because the alternative was to admit that there is no statistically significant

association between glyphosate use and NHL when properly adjusted. As a result, Plaintiffs have

identified no factual allegations supporting the assertion that glyphosate—separate from other

pesticides—credibly increases the risk of developing NHL. And even if they had, they have utterly

failed to show how this presents a risk to them of “certainly impending” injury when considering

their own baseline risk, their exposure to non-glyphosate pesticides, and the available science. This

is fatal to their increased-risk-of-harm theory of standing to seek medical monitoring.
III.   TRACEABILITY: THE COMPLAINTS DO NOT PLAUSIBLY ALLEGE THAT
       MONSANTO’S CONDUCT CAUSED PLAINTIFFS’ ALLEGED INJURIES
       Plaintiffs do not plausibly allege that an increased risk of developing NHL was caused by

Roundup® rather than other chemicals. They thus have failed to meet their burden that the alleged

harm on which they predicate their claim seeking medical monitoring is fairly traceable to

Monsanto’s conduct, rather than the conduct of other actors. See Murthy v. Missouri, 144 S. Ct.

1972, 1993 (2024) (injury must be fairly traceable to the conduct of the particular defendants

before the court).

       As this Court has recognized, professional users of Roundup®—such as Plaintiffs—use

other chemicals alongside Roundup®, including other glyphosate-based products and “many other

pesticides.” In re Roundup Products Liab. Litig., 390 F. Supp. 3d at 1123; In re Roundup Products

Liab. Litig., 2024 WL 3074376, at *4 (“[P]eople with high exposure to glyphosate (who tend to be

agricultural workers or landscapers) are likely to have more exposure to other pesticides, not

less.”). The Court has previously explained that some of these other pesticides may “be associated



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with elevated incidences of NHL.” In re Roundup Products Liab. Litig., 390 F. Supp. 3d at 1123.

As a result, studies that examine agricultural or professional exposure present a traceability

problem, in addition to the confounding error discussed above. See, supra, Section II. Plaintiffs

cannot plausibly allege that their increased risk is fairly traceable to Monsanto—rather than absent

third parties—without alleging facts ruling out exposure to other sources of glyphosate or other

pesticides. See Murthy, 144 S. Ct. at 1993-96 (concluding that plaintiffs did not trace their alleged

injuries to the defendants they sued); Riva, 82 F. Supp. 3d at 1062 (“Where the pleadings reveal

so many commonly-consumed foods with similar levels of 4-MeI, it is implausible to conclude

that any alleged increased risk of cancer is ‘more likely than not’ caused by drinking Pepsi One or

Diet Pepsi.”).

       Plaintiffs do not allege facts plausibly ruling out the “many other pesticides” as the source

of the alleged increased risk. In re Roundup Products Liab. Litig., 390 F. Supp. 3d at 1123. They

do not allege that they have not encountered other pesticides that are associated with an increased

risk of developing NHL. They also do not allege that they have encountered glyphosate only in

Roundup® products—as this Court knows, dozens of other companies have manufactured and

sold competing glyphosate-based herbicides. Without such allegations, they do not plausibly allege

an increased risk that is fairly traceable to Monsanto and not other pesticide producers. 12




12
   Plaintiffs likewise do not plausibly allege that they encountered or relied on specific misleading
statements by Monsanto regarding glyphosate’s safety. Each of the Complaints advances claims
for negligent misrepresentation. See No. 3:24-CV-01736, D.E. 62 (“Perez-Hernandez Compl.”) at
¶¶ 101-12; Ramirez Compl. ¶¶ 163-70; No. 3:19-CV-07972-VC, D.E. 1 (“Sheller Compl.) at
¶¶ 103-12 (alleging misrepresentations and omissions). Negligent-misrepresentation claims are
grounded in fraud and thus are subject to the heightened pleading requirements of Federal Rule of
Civil Procedure 9(b). See Neilson v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1141 (C.D.
Cal. 2003) (“It is well-established in the Ninth Circuit that both claims for fraud and negligent
misrepresentation must meet Rule 9(b)’s particularity requirements.”). Despite this requirement,
none of the Complaints alleges “the who, what, when, where, and how” of alleged statements or
omissions that Plaintiffs encountered and upon which they relied. Yetter v. Ford Motor Co., 428 F.
Supp. 3d 210, 220 (N.D. Cal. 2019) (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106
(9th Cir. 2003)).


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IV.     REDRESSABILITY: THE COMPLAINTS DO NOT PLAUSIBLY ALLEGE THAT
        A CLINICALLY AVAILABLE TEST CAN DETECT NHL PRIOR TO THE ONSET
        OF SYMPTOMS
        For medical monitoring to redress any claimed injury, Plaintiffs must allege “the clinical

value of early detection and diagnosis.” Potter, 863 P.2d at 825. And logically, for a medical-

monitoring program to redress the increased risk of contracting a disease, there must be a clinically

available medical test capable of leading to such early detection and diagnosis. See id. (the

effectiveness of a medical-monitoring remedy depends on the existence of a “specific monitoring”

method); see also Barnes v. Am. Tobacco Co., 161 F.3d 127, 139 (3d Cir. 1998) (the availability of

medical monitoring depends on whether “a monitoring procedure exists that makes the early

detection of the disease possible”). Here, Plaintiffs each ask for a program of periodic testing to

catch NHL in its early stages. Perez-Hernandez Compl. ¶¶ 14, 66-76, 91, 107, 111, 127; Ramirez

Compl. ¶¶ 107-111, Prayer ¶¶ iv, vi; Sheller Compl. ¶¶ 9, 111, Prayer ¶ (c). But Plaintiffs have

failed to plead facts showing any of this.

        The Ramirez and Sheller Complaints contain no allegations regarding tests for NHL. On

that basis alone, the Court should hold that both have failed to allege facts supporting

redressability.

        The Sheller Response attempts to imply that because medical monitoring is a recognized

legal remedy, Sheller has necessarily pleaded facts supporting redressability. See Sheller Resp. at

4-6 (discussing basis for recognizing medical monitoring under Indiana law). 13 But even if a legal

remedy exists, a plaintiff must allege facts showing that the legal remedy would redress the injuries

alleged in order to have standing. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (a plaintiff must

plead facts showing entitlement to relief); Lujan, 504 U.S. at 561 (a plaintiff bears the burden of

establishing the elements of standing). That is not possible if the relief—here a test to pre-detect

NHL—does not exist. The Ramirez Response similarly punts by saying that the “ ‘trier-of-fact’

may determine, with the help of ‘medical testimony,’ what exactly and in what ‘given situation

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  Sheller is not even necessarily correct that a medical-monitoring remedy exists under Indiana
law. See supra note 6.


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justifies future periodic medical monitoring.’ ” Ramirez Resp. at 10 (quoting Potter, 863 P.2d at

825). That puts the cart before the horse. Before getting to a trier of fact, a plaintiff must plead

facts supporting the elements of his claim. PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824,

838 (9th Cir. 2022) (“Since these are elements of the claim, the plaintiff must plead facts that,

when accepted as true, show they are satisfied.”). This includes the “indispensable” elements of

standing. Lujan, 504 U.S. at 561. The Ramirez and Sheller Plaintiffs’ failure to allege any facts

showing redressability, therefore, requires dismissal for lack of standing.

       Only the Perez-Hernandez Complaint contains any allegations regarding testing for NHL,

but these allegations do not plausibly show redressability. Perez-Hernandez Compl. ¶¶ 72-75. The

Perez-Hernandez Response proposes that the requested program monitor for “symptoms of

cancer” using the existing clinics funded by the Diagnostic Assistance Grant Program (“DAGP”).

Perez-Hernandez Resp. at 9; Perez-Hernandez Compl. ¶¶ 74-76. But a medical-monitoring

program that tests for symptoms is not helpful, because the symptoms themselves would cause the

person to go to the doctor. At that point, any claim would be for personal injury, not medical

monitoring. Moreover, because the Perez-Hernandez Plaintiffs contend that any symptom-based

checkup could be conducted through already existing DAGP-funded clinics, there is no role for

Monsanto-funded medical monitoring. 14
       Because symptom-based monitoring does not redress Plaintiffs’ increased-risk injuries, the

core question is the one the Court previously asked the Perez-Hernandez plaintiffs: “Can doctors

discover NHL before symptoms of NHL appear?” Feb. 15, 2024, Hr’g Tr. at 16:19-20. At the time,

the Perez-Hernandez Plaintiffs responded, “I don’t believe so,” id. at 16:21-22, and they have not

changed that answer since. Instead, the Perez-Hernandez Response says that a monitoring program

would allow Plaintiffs to be “tested for whether they have biological markers that indicate an

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   In their Complaint, the Perez-Hernandez Plaintiffs contend that they require “more frequent
screenings not within the purview of routine medical exams.” Perez-Hernandez Compl. ¶ 76. They
do not allege the frequency of screenings they require or the frequency of screenings currently
available, and thus they do not allege what role court-ordered medical monitoring would play in
redressing the alleged injuries. See id.


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increased risk of NHL and require an individualized care plan.” Perez-Hernandez Resp. at 9

(emphasis added). Plaintiffs claim that “these methods will test for chromosomal changes

indicating genotoxic effects and for elevated immune marker concentrations, which are early

indicators of cancer risk.” Id. at 10 (emphasis added) (citing Perez-Hernandez Compl. ¶¶ 72-73).

That is, Plaintiffs suggest only that their proposed tests would indicate a cancer risk—not that they

would detect NHL. That is entirely circular—the increased risk is the injury Plaintiffs claim in the

first place. Testing for increased risk does not redress increased risk. Indeed, Plaintiffs alleged they

already know they are at increased risk for NHL. Testing for risk would thus only confirm what

Plaintiffs already claim to know.

        A closer look at the studies the Perez-Hernandez Plaintiffs cite demonstrates why they

hedge their arguments. Though neither the Response nor the Complaint expressly names the

studies relied on, the descriptions in the Complaint indicate that they are a 2023 study by Vicky C.

Chang and 2023 study by Jonguen Rhee. Ex. C (Vicky C. Chang et al., Glyphosate Use and Mosaic

Loss of Chromosome Y Among Male Farmers in the Agricultural Health Study, ENVT’L HEALTH
PERSPECTIVES, Dec. 2023); Ex. D (Jonguen Rhee et al., Circulating Immune Markers and Risks of

Non-Hodgkin Lymphoma Subtypes: A Pooled Analysis, 152 Int’l J. of Cancer 865 (2023)). Neither

plausibly supports the Perez-Hernandez Plaintiffs’ arguments.

        The Chang article observed a correlation between glyphosate exposure and mosaic loss of

the Y-chromosome (“mLOY”) in tested male farmers. Ex. C at 1, 3. The article noted that mLOY

occurs naturally with age. Id. at 3. The article further noted that prior research into a connection

between mLOY and various cancers has been “inconclusive.” Id. Critically, the article did not

claim any connection between mLOY and NHL. Indeed, the article cautioned that “[f]uture

research is needed to confirm our novel findings and to further explore specific mechanisms or

bio-markers through which glyphosate exposure may contribute to mLOY, other [mosaic

chromosomal alterations], and cancer risk.” Id. At best, then, the Chang article says that testing of

mLOY might someday be used to assess cancer risk generally—it does not say that an mLOY test

currently exists to detect the presence of NHL.


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       The Rhee article likewise does not propose a test for detecting NHL. The article conducted

a pooled analysis of data drawn from samples of serum plasma and observed “statistically

significant associations between increased NHL risk and elevated circulating levels of ” specific

immune activation markers. Ex. D at 1, 7 (emphasis added). The article does not claim that

collecting serum plasma samples could be used as a means of diagnosing NHL or that doctors

should use plasma samples to test for NHL in a clinical setting. See id. Indeed, the Rhee article

excluded from its dataset samples from individuals diagnosed with cancer less than two years after

blood collection to filter out potential changes to blood markers resulting from the presence of

cancer. Ex. D at 5. That is, the Rhee article avoided studying the diagnostic potential of serum

plasma tests. And like the Chang article, the Rhee article cautioned that “[s]tudies with larger

sample sizes are needed to confirm and extend these findings.” Ex. D at 11. The article simply

does not speak to a clinically available method for detecting NHL prior to the onset of symptoms.
       None of the Plaintiffs has alleged the existence of a clinically available test for early

detection of NHL, prior to the onset of symptoms—much less NHL caused by glyphosate

exposure. They have thus not alleged that any relief from this Court would redress their alleged

injuries. The Court should dismiss.
                                          CONCLUSION
       For the reasons set forth above, the Court should dismiss for lack of standing the

Complaints in Perez-Hernandez and Sheller and Plaintiff Owens’s claims in Ramirez. 15



15
   Each of the Plaintiffs requests the opportunity to amend their Complaints to add jurisdictional
facts, but none articulates what jurisdictional facts they could add to cure the defects. See Perez-
Hernandez Resp. at 10; Ramirez Resp. at 10; Sheller Resp. at 10. Given that the Perez-Hernandez
and Ramirez Plaintiffs have already amended their Complaints and given that the Ramirez and
Sheller cases have been pending for five years, the Court should exercise its discretion to deny
leave to amend. Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013) (“A district court’s
discretion to deny leave to amend is ‘particularly broad’ where the plaintiff has previously
amended. . . . A plaintiff may not in substance say ‘trust me,’ and thereby gain a license for further
amendment when prior opportunity to amend had been given.”); Kamal v. Eden Creamery, LLC,
88 F.4th 1268, 1279 (9th Cir. 2023) (affirming denial of leave to amend when plaintiff delayed for
five months).


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Dated: October 17, 2024                   By: /s/ John J. Rosenthal

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